       Case: 18-16981, 02/10/2023, ID: 12650845, DktEntry: 153, Page 1 of 2




                              FOR PUBLICATION                           FILED
                  UNITED STATES COURT OF APPEALS                         FEB 10 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

CRISTA RAMOS; CRISTINA MORALES;                No.    18-16981
BENJAMIN ZEPEDA; ORLANDO
ZEPEDA; JUAN EDUARDO AYALA                     D.C. No. 3:18-cv-01554-EMC
FLORES; ELSY YOLANDA FLORES DE                 Northern District of California,
AYALA; MARIA JOSE AYALA FLORES;                San Francisco
HNAIDA CENEMAT; WILNA DESTIN;
RILYA SALARY; SHERIKA BLANC;                   ORDER
IMARA AMPIE; MAZIN AHMED;
HIWAIDA ELARABI,

                Plaintiffs-Appellees,

 v.

CHAD F. WOLF, Secretary of Homeland
Security; KENNETH T. CUCCINELLI,
Senior Official Performing the Duties of the
Deputy Secretary of Homeland Security;
U.S. DEPARTMENT OF HOMELAND
SECURITY; UNITED STATES OF
AMERICA,

                Defendants-Appellants.



MURGUIA, Chief Judge:

      Upon the vote of a majority of nonrecused active judges, it is ordered that

this case be reheard en banc pursuant to Federal Rule of Appellate Procedure 35(a)

and Circuit Rule 35-3. The three-judge panel opinion is vacated.
        Case: 18-16981, 02/10/2023, ID: 12650845, DktEntry: 153, Page 2 of 2




      Judges Owens and H.A. Thomas did not participate in the deliberations or

vote in this case.




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